Case 19-90065-LT  Filed 01/23/20 Entered 01/23/20 07:32:51 Doc 29-9        Pg. 1 of
                See a Social Security Number?
                                       290        Say Something!
          Report Privacy Problems to https://public.resource.org/privacy
            Or call the IRS Identity Theft Hotline at 1-800-908-4490
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 2 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 3 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 4 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 5 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 6 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 7 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 8 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 9 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 10 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 11 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 12 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 13 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 14 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 15 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 16 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 17 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 18 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 19 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 20 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 21 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 22 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 23 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 24 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 25 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 26 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 27 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 28 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 29 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 30 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 31 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 32 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 33 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 34 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 35 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 36 of
                                       290
Case 19-90065-LT   Filed 01/23/20 Entered 01/23/20 07:32:51 Doc 29-9        Pg. 37 of
                 See a Social Security Number?
                                        290        Say Something!
           Report Privacy Problems to https://public.resource.org/privacy
             Or call the IRS Identity Theft Hotline at 1-800-908-4490
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 38 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 39 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 40 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 41 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 42 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 43 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 44 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 45 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 46 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 47 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 48 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 49 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 50 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 51 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 52 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 53 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 54 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 55 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 56 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 57 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 58 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 59 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 60 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 61 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 62 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 63 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 64 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 65 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 66 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 67 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 68 of
                                       290
Case 19-90065-LT   Filed 01/23/20 Entered 01/23/20 07:32:51 Doc 29-9        Pg. 69 of
                 See a Social Security Number?
                                        290        Say Something!
           Report Privacy Problems to https://public.resource.org/privacy
             Or call the IRS Identity Theft Hotline at 1-800-908-4490
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 70 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 71 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 72 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 73 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 74 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 75 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 76 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 77 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 78 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 79 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 80 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 81 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 82 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 83 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 84 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 85 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 86 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 87 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 88 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 89 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 90 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 91 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 92 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 93 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 94 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 95 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 96 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 97 of
                                       290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 98 of
                                       290
Case 19-90065-LT   Filed 01/23/20 Entered 01/23/20 07:32:51 Doc 29-9        Pg. 99 of
                 See a Social Security Number?
                                        290        Say Something!
           Report Privacy Problems to https://public.resource.org/privacy
             Or call the IRS Identity Theft Hotline at 1-800-908-4490
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 100 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 101 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 102 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 103 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 104 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 105 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 106 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 107 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 108 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 109 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 110 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 111 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 112 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 113 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 114 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 115 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 116 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 117 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 1
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 119 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 120 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 121 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 122 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 123 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 124 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 125 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 126 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 1
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 1
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 1
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 130 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 131 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 132 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 133 of
                                        290
Case 19-90065-LT  Filed 01/23/20 Entered 01/23/20 07:32:51 Doc 29-9         Pg. 134 of
                 See a Social Security Number?
                                        290        Say Something!
           Report Privacy Problems to https://public.resource.org/privacy
             Or call the IRS Identity Theft Hotline at 1-800-908-4490
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 135 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 136 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 137 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 138 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 139 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 140 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 141 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 142 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 143 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 144 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 145 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 146 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 147 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 148 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 149 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 150 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 151 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 152 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 153 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 154 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 155 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 156 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 157 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 158 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 159 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 160 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 161 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 162 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 163 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 164 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 165 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 166 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 167 of
                                        290
Case 19-90065-LT  Filed 01/23/20 Entered 01/23/20 07:32:51 Doc 29-9         Pg. 168 of
                 See a Social Security Number?
                                        290        Say Something!
           Report Privacy Problems to https://public.resource.org/privacy
             Or call the IRS Identity Theft Hotline at 1-800-908-4490
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 169 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 170 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 171 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 172 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 173 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 174 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 175 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 176 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 177 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 178 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 179 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 180 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 181 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 182 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 183 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 184 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 185 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 186 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 187 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 188 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 189 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 190 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 191 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 192 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 193 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 194 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 195 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 196 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 197 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 198 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 199 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 200 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 201 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 202 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 203 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 204 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 205 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 206 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 207 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 208 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 209 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 210 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 211 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 212 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 213 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 214 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 215 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 216 of
                                        290
Case 19-90065-LT  Filed 01/23/20 Entered 01/23/20 07:32:51 Doc 29-9         Pg. 217 of
                 See a Social Security Number?
                                        290        Say Something!
           Report Privacy Problems to https://public.resource.org/privacy
             Or call the IRS Identity Theft Hotline at 1-800-908-4490
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 218 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 219 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 220 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 221 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 222 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 223 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 224 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 225 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 226 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 227 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 228 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 229 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 230 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 231 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 232 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 233 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 234 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 235 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 236 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 237 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 238 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 239 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 240 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 241 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 242 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 243 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 244 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 245 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 246 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 247 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 248 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 249 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 250 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 251 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 252 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 253 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 254 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 255 of
                                        290
Case 19-90065-LT  Filed 01/23/20 Entered 01/23/20 07:32:51 Doc 29-9         Pg. 256 of
                 See a Social Security Number?
                                        290        Say Something!
           Report Privacy Problems to https://public.resource.org/privacy
             Or call the IRS Identity Theft Hotline at 1-800-908-4490
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 257 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 258 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 259 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 260 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 261 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 262 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 263 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 264 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 265 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 266 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 267 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 268 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 269 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 270 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 271 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 272 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 273 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 274 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 275 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 276 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 277 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 278 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 279 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 280 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 281 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 282 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 283 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 284 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 285 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 286 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 287 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 288 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 289 of
                                        290
Case 19-90065-LT   Filed 01/23/20   Entered 01/23/20 07:32:51   Doc 29-9   Pg. 290 of
                                        290
